

Matter of Meserow (2025 NY Slip Op 00144)





Matter of Meserow


2025 NY Slip Op 00144


Decided on January 9, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:January 9, 2025

PM-11-25
[*1]In the Matter of Nancy J. Meserow, an Attorney. (Attorney Registration No. 5049432.)

Calendar Date:December 30, 2024

Before:Clark, J.P., Aarons, Pritzker, Lynch and Powers, JJ.

Nancy J. Meserow, Portland, Oregon, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Nancy J. Meserow was admitted to practice by this Court in 2012 and lists a business address in Portland, Oregon with the Office of Court Administration. Meserow now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Meserow's application.
Upon reading Meserow's affidavit sworn to November 13, 2024 and filed November 27, 2024, and upon reading the December 30, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Meserow is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Clark, J.P., Aarons, Pritzker, Lynch and Powers, JJ., concur.
ORDERED that Nancy J. Meserow's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Nancy J. Meserow's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Nancy J. Meserow is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Meserow is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Nancy J. Meserow shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








